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                         IN THE UNITED STATES DISTRICT COURT
                          FOR THE EASTERN DISTRICT OF TEXAS
                                    TYLER DIVISION

 BLUE SPIKE, LLC,                              §
                                               §
          Plaintiff,                           §     Case No. 6:16-cv-00271-RWS-JDL
                                               §
 v.                                            §
                                               §
 BLU PRODUCTS, INC., et al.,                   §
                                               §
          Defendants.                          §
                                               §

                                     ORDER OF DISMISSAL
      .
          Pursuant to Fed. R. Civ. P. 41(a), recognizing the Stipulation of Dismissal filed by

 plaintiff Blue Spike, LLC and defendant BLU Products, Inc. pursuant to a settlement of the

 above-captioned litigation between the parties, it is ordered as follows:

          ORDERED that the claims asserted herein by Plaintiff Blue Spike, LLC against

 Defendant BLU Products, Inc. be, and hereby are, dismissed with prejudice; and

          ORDERED that the parties shall bear their own attorneys’ fees, expenses and costs.


          So ORDERED and SIGNED this 25th day of April, 2017.




                                                            ____________________________________
                                                            ROBERT W. SCHROEDER III
                                                            UNITED STATES DISTRICT JUDGE
